     Case 3:16-cv-02077-GAG-BJM Document 130 Filed 08/14/17 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


  IVETTE M. MARTÍNEZ GONZÁLEZ, ET
               ALS.,

                     Plaintiffs

                         v.
                                                             CIVIL No. 16-2077 (GAG)
     CATHOLIC SCHOOLS OF THE
   ARCHDIOCESES OF SAN JUAN THE
  PROVISIONS OF PENSIONS PLAN, et als.

                    Defendants

                                  INFORMATIVE MOTION

TO THE HONORABLE COURT:

       COMES NOW the Superintendence of the Catholic Schools of the Archdioceses of San

Juan (hereinafter “the Superintendence”), and the Trust of the Catholic Schools of the

Archdiocese of San Juan Pension Plan without submitting to the jurisdiction of the Court and

without waiving any affirmative defenses, including defective and insufficient service of process,

through counsel, respectfully STATE, ALLEGE and PRAY as follows:

       1.      On July 31, 2017, Plaintiffs filed a Motion to Compel. See Docket No. 123.

       2.      In said motion, Plaintiffs indicated that they needed the Court's intervention with

certain discovery disputes.

       3.      Plaintiffs also stated they needed to conclude discovery proceedings to file a

response to the Motion to Dismiss filed on July 18, 2017.

       4.      It must be noted that Plaintiffs do not need to conclude any discovery proceedings

to file a response to the Motion to Dismiss. All of the documents attached to the Motion to

Dismiss are mentioned in Plaintiffs' First Amended Complaint and /or the Court may take
      Case 3:16-cv-02077-GAG-BJM Document 130 Filed 08/14/17 Page 2 of 2



judicial notice. See Overall v. Ascension, 23 F.Supp.3d 816 (E.D. Mich. 2014).

       5.      Defendant will file a Response in Opposition to Plaintiffs' Motion to Compel.

However, while the term allowed by the Federal Rules of Civil Procedure and the Local Civil

Rules to answer said Opposition is due on August 14, 2017, Defendant informs the Court that it

is currently in the process of moving to a new office location. Therefore, Defendant respectfully

requests that the Court take notice of this event.

       6.      In order to file a Response in Opposition to Plaintiffs' Motion to Compel in light

of said event, Defendant respectfully requests extension of term to answer said Opposition, by

seven (7) additional days.

       WHEREFORE, Defendant respectfully requests that the Court take notice of the above-

mentioned event and kindly grant Defendants an extension of seven (7) days to file a Response

in Opposition to Plaintiffs' Motion to Compel.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 14th day of August 2017.

       WE HEREBY CERTIFY that on this same date we electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent all

parties by operation of the Court’s electronic filing system. Parties may access this filing through

the Court’s system.

                                 SCHUSTER AGUILÓ LLC
                                  Telephone: (787) 765-4646
                                   Telefax: (787) 765-4611




                              Jaime L. Sanabria Montañez, Esq.
                                   USDC PR No. 225307
                                  jsanabria@salawpr.com
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